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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                              CRIMINAL ACTION

VERSUS                                                          No. 17-201

JEREMY ESTEVES,                                                SECTION I
& ROBERT BRUMFIELD, III




                         JURY INSTRUCTIONS




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                   INTRODUCTION TO FINAL INSTRUCTIONS 1



         IN ANY JURY TRIAL THERE ARE, IN EFFECT, TWO JUDGES. I AM ONE

OF THE JUDGES; THE OTHER IS THE JURY. IT IS MY DUTY TO PRESIDE

OVER THE TRIAL AND TO DECIDE WHAT EVIDENCE IS PROPER FOR YOUR

CONSIDERATION. IT IS ALSO MY DUTY AT THE END OF THE TRIAL TO

EXPLAIN TO YOU THE RULES OF LAW THAT YOU MUST FOLLOW AND

APPLY IN ARRIVING AT YOUR VERDICT.

         FIRST, I WILL GIVE YOU SOME GENERAL INSTRUCTIONS WHICH

APPLY IN EVERY CASE, FOR EXAMPLE, INSTRUCTIONS ABOUT BURDEN OF

PROOF AND HOW TO JUDGE THE BELIEVABILITY OF WITNESSES. THEN I

WILL GIVE YOU SOME SPECIFIC RULES OF LAW ABOUT THIS PARTICULAR

CASE, AND FINALLY I WILL EXPLAIN TO YOU THE PROCEDURES YOU

SHOULD FOLLOW IN YOUR DELIBERATIONS.




1   Fifth Circuit Criminal Pattern Jury Instructions § 1.03.


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                       DUTY TO FOLLOW INSTRUCTIONS 2



         YOU, AS JURORS, ARE THE JUDGES OF THE FACTS. BUT IN

DETERMINING WHAT ACTUALLY HAPPENED—THAT IS, IN REACHING

YOUR DECISION AS TO THE FACTS—IT IS YOUR SWORN DUTY TO FOLLOW

ALL OF THE RULES OF LAW AS I EXPLAIN THEM TO YOU.

         YOU HAVE NO RIGHT TO DISREGARD OR GIVE SPECIAL ATTENTION

TO ANY ONE INSTRUCTION, OR TO QUESTION THE WISDOM OR

CORRECTNESS OF ANY RULE I MAY STATE TO YOU. YOU MUST NOT

SUBSTITUTE OR FOLLOW YOUR OWN NOTION OR OPINION AS TO WHAT

THE LAW IS OR OUGHT TO BE. IT IS YOUR DUTY TO APPLY THE LAW AS I

EXPLAIN IT TO YOU, REGARDLESS OF THE CONSEQUENCES.

         IT IS ALSO YOUR DUTY TO BASE YOUR VERDICT SOLELY UPON THE

EVIDENCE, WITHOUT PREJUDICE OR SYMPATHY. THAT WAS THE PROMISE

YOU MADE AND THE OATH YOU TOOK BEFORE BEING ACCEPTED BY THE

PARTIES AS JURORS, AND THEY HAVE THE RIGHT TO EXPECT NOTHING

LESS.




2   Fifth Circuit Criminal Pattern Jury Instructions § 1.04.


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             PRESUMPTION OF INNOCENCE, BURDEN OF PROOF,

                               REASONABLE DOUBT 3



         THE SECOND SUPERSEDING INDICTMENT OR FORMAL CHARGES

AGAINST A DEFENDANT ARE NOT EVIDENCE OF GUILT. INDEED, THE

DEFENDANT IS PRESUMED BY THE LAW TO BE INNOCENT. THE

DEFENDANT BEGINS WITH A CLEAN SLATE. THE LAW DOES NOT REQUIRE

A DEFENDANT TO PROVE HIS INNOCENCE OR PRODUCE ANY EVIDENCE AT

ALL AND NO INFERENCE WHATSOEVER MAY BE DRAWN FROM THE

ELECTION OF A DEFENDANT NOT TO TESTIFY.

         THE GOVERNMENT HAS THE BURDEN OF PROVING A DEFENDANT

GUILTY BEYOND A REASONABLE DOUBT, AND IF IT FAILS TO DO SO, YOU

MUST ACQUIT THE DEFENDANT. WHILE THE GOVERNMENT'S BURDEN OF

PROOF IS A STRICT OR HEAVY BURDEN, IT IS NOT NECESSARY THAT THE

DEFENDANT’S GUILT BE PROVED BEYOND ALL POSSIBLE DOUBT. IT IS

ONLY REQUIRED THAT THE GOVERNMENT'S PROOF EXCLUDE ANY

“REASONABLE DOUBT” CONCERNING THE DEFENDANT'S GUILT.

         A “REASONABLE DOUBT” IS A DOUBT BASED UPON REASON AND

COMMON SENSE AFTER CAREFUL AND IMPARTIAL CONSIDERATION OF

ALL THE EVIDENCE IN THE CASE. PROOF BEYOND A REASONABLE DOUBT,

THEREFORE, IS PROOF OF SUCH A CONVINCING CHARACTER THAT YOU



3   Fifth Circuit Criminal Pattern Jury Instructions § 1.05.


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WOULD BE WILLING TO RELY AND ACT UPON IT WITHOUT HESITATION IN

MAKING THE MOST IMPORTANT DECISIONS OF YOUR OWN AFFAIRS.




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              EVIDENCE—EXCLUDING WHAT IS NOT EVIDENCE 4



         AS I TOLD YOU EARLIER, IT IS YOUR DUTY TO DETERMINE THE

FACTS. TO DO SO, YOU MUST CONSIDER ONLY THE EVIDENCE PRESENTED

DURING THE TRIAL. EVIDENCE IS THE SWORN TESTIMONY OF THE

WITNESSES,        INCLUDING       STIPULATIONS,        AND     THE   EXHIBITS.    THE

QUESTIONS, STATEMENTS, OBJECTIONS, AND ARGUMENTS MADE BY THE

LAWYERS ARE NOT EVIDENCE.

         THE FUNCTION OF THE LAWYERS IS TO POINT OUT THOSE THINGS

THAT ARE MOST SIGNIFICANT OR MOST HELPFUL TO THEIR SIDE OF THE

CASE, AND IN SO DOING TO CALL YOUR ATTENTION TO CERTAIN FACTS OR

INFERENCES THAT MIGHT OTHERWISE ESCAPE YOUR NOTICE. IN THE

FINAL ANALYSIS, HOWEVER, IT IS YOUR OWN RECOLLECTION AND

INTERPRETATION OF THE EVIDENCE THAT CONTROLS IN THE CASE.

WHAT THE LAWYERS SAY IS NOT BINDING UPON YOU.

         DURING THE TRIAL I SUSTAINED OBJECTIONS TO CERTAIN

QUESTIONS AND EXHIBITS. YOU MUST DISREGARD THOSE QUESTIONS

AND EXHIBITS ENTIRELY. DO NOT SPECULATE AS TO WHAT THE WITNESS

WOULD HAVE SAID IF PERMITTED TO ANSWER THE QUESTION OR AS TO

THE CONTENTS OF AN EXHIBIT. DO NOT CONSIDER ANY TESTIMONY OR

OTHER        EVIDENCE       WHICH      HAS      BEEN    REMOVED       FROM       YOUR



4   Fifth Circuit Criminal Pattern Jury Instructions § 1.06.


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CONSIDERATION IN REACHING YOUR DECISION. YOUR VERDICT MUST BE

BASED   SOLELY    ON   THE   LEGALLY     ADMISSIBLE     EVIDENCE     AND

TESTIMONY.

    ALSO, DO NOT ASSUME FROM ANYTHING I MAY HAVE DONE OR SAID

DURING THE TRIAL THAT I HAVE ANY OPINION CONCERNING ANY OF THE

ISSUES IN THIS CASE. EXCEPT FOR THE INSTRUCTIONS TO YOU ON THE

LAW, YOU SHOULD DISREGARD ANYTHING I MAY HAVE SAID DURING THE

TRIAL IN ARRIVING AT YOUR OWN VERDICT.




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        EVIDENCE—INFERENCES—DIRECT AND CIRCUMSTANTIAL 5



         IN CONSIDERING THE EVIDENCE, YOU ARE PERMITTED TO DRAW

SUCH REASONABLE INFERENCES FROM THE TESTIMONY AND EXHIBITS

AS YOU FEEL ARE JUSTIFIED IN THE LIGHT OF COMMON EXPERIENCE. IN

OTHER WORDS, YOU MAY MAKE DEDUCTIONS AND REACH CONCLUSIONS

THAT REASON AND COMMONSENSE LEAD YOU TO DRAW FROM THE FACTS

WHICH HAVE BEEN ESTABLISHED BY THE EVIDENCE.

         DO NOT BE CONCERNED ABOUT WHETHER EVIDENCE IS “DIRECT

EVIDENCE” OR “CIRCUMSTANTIAL EVIDENCE.” YOU SHOULD CONSIDER

AND WEIGH ALL OF THE EVIDENCE THAT WAS PRESENTED TO YOU.

         “DIRECT EVIDENCE” IS THE TESTIMONY OF ONE WHO ASSERTS

ACTUAL        KNOWLEDGE        OF    A   FACT,   SUCH     AS   AN   EYE   WITNESS.

“CIRCUMSTANTIAL EVIDENCE” IS PROOF OF A CHAIN OF EVENTS AND

CIRCUMSTANCES INDICATING THAT SOMETHING IS OR IS NOT A FACT.

         THE LAW MAKES NO DISTINCTION BETWEEN THE WEIGHT TO BE

GIVEN EITHER DIRECT OR CIRCUMSTANTIAL EVIDENCE. BUT THE LAW

REQUIRES THAT YOU, AFTER WEIGHING ALL OF THE EVIDENCE,

WHETHER DIRECT OR CIRCUMSTANTIAL, BE CONVINCED OF THE GUILT

OF THE DEFENDANT BEYOND A REASONABLE DOUBT BEFORE YOU CAN

FIND HIM GUILTY.



5   Fifth Circuit Criminal Pattern Jury Instructions § 1.07.


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                           CREDIBILITY OF WITNESSES 6



         I REMIND YOU THAT IT IS YOUR JOB TO DECIDE WHETHER THE

GOVERNMENT HAS PROVED THE DEFENDANT’S GUILT BEYOND A

REASONABLE DOUBT. IN DOING SO, YOU MUST CONSIDER ALL OF THE

EVIDENCE. THIS DOES NOT MEAN, HOWEVER, THAT YOU MUST ACCEPT

ALL OF THE EVIDENCE AS TRUE OR ACCURATE.

         YOU    ARE     THE    SOLE     JUDGES      OF    THE   CREDIBILITY   OR

“BELIEVABILITY” OF EACH WITNESS AND THE WEIGHT TO BE GIVEN TO

THE WITNESS'S TESTIMONY. AN IMPORTANT PART OF YOUR JOB WILL BE

MAKING JUDGMENTS ABOUT THE TESTIMONY OF THE WITNESSES WHO

TESTIFIED IN THIS CASE. YOU SHOULD DECIDE WHETHER YOU BELIEVE

ALL, SOME PART, OR NONE OF WHAT EACH PERSON HAD TO SAY. YOU

SHOULD ALSO DECIDE HOW IMPORTANT THAT TESTIMONY WAS.

         IN MAKING THAT DECISION I SUGGEST THAT YOU ASK YOURSELF A

FEW QUESTIONS:

     •   DID THE WITNESS IMPRESS YOU AS HONEST?

     •   DID THE WITNESS HAVE ANY PARTICULAR REASON NOT TO TELL

         THE TRUTH?

     •   DID THE WITNESS HAVE A PERSONAL INTEREST IN THE OUTCOME

         OF THE CASE?



6   Fifth Circuit Criminal Pattern Jury Instructions § 1.08.


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  •   DID THE WITNESS HAVE ANY RELATIONSHIP WITH EITHER THE

      GOVERNMENT OR THE DEFENSE?

  •   DID THE WITNESS SEEM TO HAVE A GOOD MEMORY?

  •   DID THE WITNESS CLEARLY SEE OR HEAR THE THINGS ABOUT

      WHICH HE OR SHE TESTIFIED?

  •   DID THE WITNESS HAVE THE OPPORTUNITY AND ABILITY TO

      UNDERSTAND THE QUESTIONS CLEARLY AND ANSWER THEM

      DIRECTLY?

  •   DID THE WITNESS'S TESTIMONY DIFFER FROM THE TESTIMONY OF

      OTHER WITNESSES?

      THESE ARE A FEW OF THE CONSIDERATIONS THAT WILL HELP YOU

DETERMINE THE ACCURACY OF WHAT EACH WITNESS SAID.

      YOUR JOB IS TO THINK ABOUT THE TESTIMONY OF EACH WITNESS

YOU HAVE HEARD AND DECIDE HOW MUCH YOU BELIEVE OF WHAT EACH

WITNESS HAD TO SAY. IN MAKING UP YOUR MIND AND REACHING A

VERDICT, DO NOT MAKE ANY DECISIONS SIMPLY BECAUSE THERE WERE

MORE WITNESSES ON ONE SIDE THAN ON THE OTHER. DO NOT REACH A

CONCLUSION ON A PARTICULAR POINT JUST BECAUSE THERE WERE

MORE WITNESSES TESTIFYING FOR ONE SIDE ON THAT POINT. YOU WILL

ALWAYS BEAR IN MIND THAT THE LAW NEVER IMPOSES UPON A

DEFENDANT IN A CRIMINAL CASE THE BURDEN OR DUTY OF CALLING ANY

WITNESSES OR PRODUCING ANY EVIDENCE.




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                 IMPEACHMENT BY PRIOR INCONSISTENCIES 7



         THE TESTIMONY OF A WITNESS MAY BE DISCREDITED BY SHOWING

THAT THE WITNESS TESTIFIED FALSELY, OR BY EVIDENCE THAT AT SOME

OTHER TIME THE WITNESS SAID OR DID SOMETHING THAT, OR FAILED TO

SAY OR DO SOMETHING, WHICH IS INCONSISTENT WITH THE TESTIMONY

THE WITNESS GAVE AT THIS TRIAL.

         EARLIER STATEMENTS OF A WITNESS WERE NOT ADMITTED IN

EVIDENCE TO PROVE THAT THE CONTENTS OF THOSE STATEMENTS ARE

TRUE. YOU MAY NOT CONSIDER THE EARLIER STATEMENTS TO PROVE

THAT THE CONTENT OF AN EARLIER STATEMENT IS TRUE; YOU MAY ONLY

USE EARLIER STATEMENTS TO DETERMINE WHETHER YOU THINK THE

EARLIER STATEMENTS ARE CONSISTENT OR INCONSISTENT WITH THE

TRIAL TESTIMONY OF THE WITNESS AND THEREFORE WHETHER THEY

AFFECT THE CREDIBILITY OF THAT WITNESS.

         IF YOU BELIEVE THAT A WITNESS HAS BEEN DISCREDITED IN THIS

MANNER, IT IS YOUR EXCLUSIVE RIGHT TO GIVE THE TESTIMONY OF THAT

WITNESS WHATEVER WEIGHT YOU THINK IT DESERVES.




7   Fifth Circuit Criminal Pattern Jury Instructions § 1.10.


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IMPEACHMENT BY PRIOR CONVICTION – WITNESS OTHER THAN THE

                                    DEFENDANT 8



         YOU    HAVE     BEEN     TOLD     THAT    CERTAIN     WITNESSES   WERE

CONVICTED OF PRIOR OFFENSES. A CONVICTION IS A FACTOR YOU MAY

CONSIDER IN DECIDING WHETHER TO BELIEVE THAT WITNESS, BUT IT

DOES NOT NECESSARILY DESTROY THE WITNESS’S CREDIBILITY. IT HAS

BEEN BROUGHT TO YOUR ATTENTION ONLY BECAUSE YOU MAY WISH TO

CONSIDER IT WHEN YOU DECIDE WHETHER YOU BELIEVE THE WITNESS’S

TESTIMONY. IT IS NOT EVIDENCE OF ANYTHING ELSE.




8   Fifth Circuit Criminal Pattern Jury Instructions § 1.12.


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                     ACCOMPLICE–INFORMER–IMMUNITY 9



         THE TESTIMONY OF ONE WHO PROVIDES EVIDENCE AGAINST A

DEFENDANT          AS   AN    INFORMER      FOR    PAY,    FOR   IMMUNITY   FROM

PUNISHMENT, OR FOR PERSONAL ADVANTAGE OR VINDICATION, MUST

ALWAYS BE EXAMINED AND WEIGHED BY THE JURY WITH GREATER CARE

AND CAUTION THAN THE TESTIMONY OF ORDINARY WITNESSES. YOU,

THE JURY, MUST DECIDE WHETHER THE WITNESS'S TESTIMONY HAS

BEEN AFFECTED BY THESE CIRCUMSTANCES, BY THE WITNESS’S

INTEREST IN THE OUTCOME OF THE CASE, BY PREJUDICE AGAINST THE

DEFENDANT, OR BY THE BENEFITS THAT THE WITNESS HAS RECEIVED

EITHER FINANCIALLY OR AS A RESULT OF BEING IMMUNIZED FROM

PROSECUTION. YOU SHOULD KEEP IN MIND THAT SUCH TESTIMONY IS

ALWAYS TO BE RECEIVED WITH CAUTION AND WEIGHED WITH GREAT

CARE.

         YOU     SHOULD       NEVER      CONVICT       ANY     DEFENDANT    UPON

UNSUPPORTED TESTIMONY OF SUCH A WITNESS UNLESS YOU BELIEVE

THAT TESTIMONY BEYOND A REASONABLE DOUBT.




9   Fifth Circuit Criminal Pattern Jury Instructions § 1.14.


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                          EXPERT OPINION TESTIMONY 10



         IF SCIENTIFIC, TECHNICAL, OR OTHER SPECIALIZED KNOWLEDGE

MIGHT ASSIST THE JURY IN UNDERSTANDING THE EVIDENCE OR IN

DETERMINING A FACT IN ISSUE, A WITNESS QUALIFIED BY KNOWLEDGE,

SKILL, EXPERIENCE, TRAINING, OR EDUCATION MAY TESTIFY AND STATE

AN OPINION CONCERNING SUCH MATTERS.

         MERELY BECAUSE SUCH A WITNESS HAS EXPRESSED AN OPINION

DOES NOT MEAN, HOWEVER, THAT YOU MUST ACCEPT THIS OPINION. YOU

SHOULD JUDGE SUCH TESTIMONY LIKE ANY OTHER TESTIMONY. YOU

MAY ACCEPT IT OR REJECT IT AND GIVE IT AS MUCH WEIGHT AS YOU

THINK IT DESERVES, CONSIDERING THE WITNESS'S EDUCATION AND

EXPERIENCE, THE SOUNDNESS OF THE REASONS GIVEN FOR THE

OPINION, AND ALL OTHER EVIDENCE IN THE CASE.




10   Fifth Circuit Criminal Pattern Jury Instructions § 1.17.


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                                   ON OR ABOUT 11



         YOU WILL NOTE THAT THE SECOND SUPERSEDING INDICTMENT

CHARGES THAT THE OFFENSES WERE COMMITTED ON OR ABOUT A

SPECIFIED DATE. THE GOVERNMENT DOES NOT HAVE TO PROVE THAT

THE CRIME WAS COMMITTED ON THAT EXACT DATE, SO LONG AS THE

GOVERNMENT PROVES BEYOND A REASONABLE DOUBT THAT THE

DEFENDANTS COMMITTED THE CRIME ON A DATE REASONABLY NEAR

DECEMBER 18, 2013, THE DATE STATED IN THE SECOND SUPERSEDING

INDICTMENT.




11   Fifth Circuit Criminal Pattern Jury Instructions § 1.18.


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                              “AND” MEANS “OR” 12



        YOU   WILL    NOTICE      THAT     IN    THE    SECOND       SUPERSEDING

INDICTMENT, CERTAIN CHARGES USE THE CONJUNCTIVE WORD “AND” TO

DESCRIBE THE OFFENSE. HOWEVER, WHEN READING THE SECOND

SUPERSEDING INDICTMENT AND WHEN REVIEWING THE ELEMENTS OF

THE OFFENSE, YOU SHOULD KEEP IN MIND THAT “AND” MEANS “OR.”




12United States v. Morales-Martinez, 496 F.3d 356, 358 (5th Cir. 2007) (“A disjunctive
statute may be pleaded conjunctively and proven disjunctively.”) (internal citations,
quotations, and alterations omitted).


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                CAUTION—CONSIDER ONLY CRIME CHARGED 13



         YOU ARE HERE TO DECIDE WHETHER THE GOVERNMENT HAS

PROVED BEYOND A REASONABLE DOUBT THAT THE DEFENDANTS ARE

GUILTY OF THE CRIMES CHARGED. THE DEFENDANTS ARE NOT ON TRIAL

FOR ANY ACT, CONDUCT, OR OFFENSE NOT ALLEGED IN THE SECOND

SUPERSEDING INDICTMENT. NEITHER ARE YOU CALLED UPON TO

RETURN A VERDICT AS TO THE GUILT OF ANY OTHER PERSON OR PERSONS

NOT ON TRIAL AS A DEFENDANT IN THIS CASE, EXCEPT AS YOU ARE

OTHERWISE INSTRUCTED.




13   Fifth Circuit Criminal Pattern Jury Instructions § 1.19.


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                             CAUTION—PUNISHMENT 14



         IF A DEFENDANT IS FOUND GUILTY, IT WILL BE MY DUTY TO DECIDE

WHAT THE PUNISHMENT WILL BE. YOU SHOULD NOT BE CONCERNED

WITH PUNISHMENT IN ANY WAY. IT SHOULD NOT ENTER YOUR

CONSIDERATION OR DISCUSSION.




14   Fifth Circuit Criminal Pattern Jury Instructions § 1.20.


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                MULTIPLE DEFENDANTS—MULTIPLE COUNTS 15



         A SEPARATE CRIME IS CHARGED AGAINST ONE OR MORE OF THE

DEFENDANTS           IN   EACH     COUNT     OF    THE    SECOND   SUPERSEDING

INDICTMENT. EACH COUNT, AND THE EVIDENCE PERTAINING TO IT,

SHOULD BE CONSIDERED SEPARATELY. THE CASE OF EACH DEFENDANT

SHOULD BE CONSIDERED SEPARATELY AND INDIVIDUALLY. THE FACT

THAT YOU MAY FIND ONE OR MORE OF THE ACCUSED GUILTY OR NOT

GUILTY OF ANY OF THE CRIMES CHARGED SHOULD NOT CONTROL YOUR

VERDICT AS TO ANY OTHER CRIME OR ANY OTHER DEFENDANT. YOU

MUST GIVE SEPARATE CONSIDERATION TO THE EVIDENCE AS TO EACH

DEFENDANT.




15   Fifth Circuit Criminal Pattern Jury Instructions § 1.23.


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                              “KNOWINGLY”—TO ACT 16



         THE WORD “KNOWINGLY,” AS THAT TERM HAS BEEN USED FROM

TIME TO TIME IN THESE INSTRUCTIONS, MEANS THAT THE ACT WAS DONE

VOLUNTARILY AND INTENTIONALLY, NOT BECAUSE OF MISTAKE OR

ACCIDENT.




16   Fifth Circuit Criminal Pattern Jury Instructions § 1.37.


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             TRANSCRIPT OF TAPE-RECORDED CONVERSATION 17



         I   HAVE     ADMITTED      TRANSCRIPTS        FOR      THE   LIMITED   AND

SECONDARY PURPOSE OF AIDING YOU IN FOLLOWING THE CONTENT OF

THE CONVERSATION AS YOU LISTENED TO THE TAPE RECORDING DURING

TRIAL, AND ALSO TO AID YOU IN IDENTIFYING THE SPEAKERS.

         YOU    ARE    SPECIFICALLY       INSTRUCTED        THAT      WHETHER   THE

TRANSCRIPT CORRECTLY OR INCORRECTLY REFLECTS THE CONTENT OF

THE CONVERSATION OR THE IDENTITY OF THE SPEAKERS IS ENTIRELY

FOR YOU TO DETERMINE BASED UPON YOUR OWN EVALUATION OF THE

TESTIMONY YOU HAVE HEARD CONCERNING THE PREPARATION OF THE

TRANSCRIPT, AND FROM YOUR OWN EXAMINATION OF THE TRANSCRIPT

IN RELATION TO YOUR HEARING OF THE TAPE RECORDING ITSELF AS THE

PRIMARY EVIDENCE OF ITS OWN CONTENTS; AND, IF YOU SHOULD

DETERMINE THAT THE TRANSCRIPT IS IN ANY RESPECT INCORRECT OR

UNRELIABLE, YOU SHOULD DISREGARD IT TO THAT EXTENT. IT IS WHAT

YOU HEARD ON THE TAPE THAT IS EVIDENCE, NOT THE TRANSCRIPTS.




17   Fifth Circuit Criminal Pattern Jury Instructions § 1.42.


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         SUMMARIES AND CHARTS NOT RECEIVED IN EVIDENCE 18



        CERTAIN CHARTS, DIAGRAMS, AND SUMMARIES HAVE BEEN SHOWN

TO YOU SOLELY AS AIDS TO HELP EXPLAIN THE FACTS DISCLOSED BY

EVIDENCE IN THE CASE. THESE CHARTS, DIAGRAMS, AND SUMMARIES

ARE NOT ADMITTED EVIDENCE OR PROOF OF ANY FACTS. YOU SHOULD

DETERMINE THE FACTS FROM THE EVIDENCE THAT IS ADMITTED.

        THE CHARTS, DIAGRAMS, AND SUMMARIES INTRODUCED SOLELY AS

PEDAGOGICAL DEVICES AND NOT RECEIVED INTO EVIDENCE ARE NOT TO

BE CONSIDERED AS EVIDENCE, BUT ONLY AS AN AID IN EVALUATING

EVIDENCE. 19




18 Fifth Circuit Criminal Pattern Jury Instructions § 1.43.
19 Fifth Circuit Criminal Pattern Jury Instructions § 1.43 note (citing United States
v. Harms, 442 F.3d 367, 375 (5th Cir. 2006); Fed. R. Evid. 611(a); United
States v. Buck, 324 F.3d 786, 790–92 (5th Cir. 2003)).


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             SUMMARIES AND CHARTS RECEIVED IN EVIDENCE 20



         CERTAIN CHARTS, DIAGRAMS, AND SUMMARIES HAVE BEEN

RECEIVED INTO EVIDENCE. YOU SHOULD GIVE THEM ONLY SUCH WEIGHT

AS YOU THINK THEY DESERVE.




20   Fifth Circuit Criminal Pattern Jury Instructions § 1.44.


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   SPECIFIC INSTRUCTIONS AS TO THE CRIMES CHARGED IN THE

                  SECOND SUPERSEDING INDICTMENT



     NOW I WILL GIVE YOU SPECIFIC INSTRUCTIONS WITH RESPECT TO

THE LAW APPLICABLE TO THE OFFENSES CHARGED IN THE SECOND

SUPERSEDING INDICTMENT AGAINST JEREMY ESTEVES AND ROBERT

BRUMFIELD, III.




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                             COUNT 1: 18 U.S.C. § 1951(a)

      CONSPIRACY TO COMMIT INTERFERENCE WITH COMMERCE BY

                       ROBBERY (HOBBS ACT ROBBERY) 21



         COUNT 1 OF THE SECOND SUPERSEDING INDICTMENT CHARGES

THAT, FROM A TIME UNKNOWN TO THE GRAND JURY AND UP TO AND

INCLUDING DECEMBER 18, 2013, IN THE EASTERN DISTRICT OF LOUISIANA

AND ELSEWHERE, LILBEAR GEORGE, AKA “BEAR,” AKA “ALLEN SANTEE,”

DEFENDANT JEREMY ESTEVES, AKA “PIPE,” CURTIS JOHNSON, JR., AKA

“BLOW,” CHUKWUDI OFOMATA, AKA “CHUCK,” AND ROBERT BRUMFIELD,

III, AKA “LIL ROB,” DID KNOWINGLY AND INTENTIONALLY COMBINE,

CONSPIRE, CONFEDERATE AND AGREE WITH EACH OTHER, AND WITH

OTHER PERSONS KNOWN AND UNKNOWN TO THE GRAND JURY, TO

OBSTRUCT, DELAY, AND AFFECT COMMERCE AND THE MOVEMENT OF

ARTICLES AND COMMODITIES IN COMMERCE, BY ROBBERY—TERMS

WHICH I WILL DEFINE LATER—BY TAKING U.S. CURRENCY AND PROPERTY

FROM THE PRESENCE AND CUSTODY OF LOOMIS SECURITY GUARDS AT

CHASE BANK, AGAINST SUCH PERSONS’ WILL, BY MEANS OF ACTUAL AND

THREATENED FORCE, VIOLENCE, AND FEAR OF INJURY TO SUCH

PERSONS; ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE, SECTION

1951(a).



21   Fifth Circuit Criminal Pattern Jury Instructions § 2.73A (2015).


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        COUNT 1 FURTHER CHARGES THAT COUNTS 2 AND 3, WHICH I WILL

LATER EXPLAIN TO YOU, WERE OVERT ACTS IN FURTHERANCE OF THIS

CONSPIRACY.

        TITLE 18, UNITED STATES CODE, SECTION 1951(a) MAKES IT A CRIME

FOR ANYONE TO CONSPIRE TO OBSTRUCT, DELAY, OR AFFECT COMMERCE

OR THE MOVEMENT OF ANY ARTICLE OR COMMODITY IN COMMERCE BY

ROBBERY. THIS CRIME IS OTHERWISE KNOWN AS A HOBBS ACT ROBBERY.

        FOR YOU TO FIND ESTEVES AND/OR BRUMFIELD GUILTY OF COUNT

1, YOU MUST BE CONVINCED THAT THE GOVERNMENT HAS PROVED EACH

OF THE FOLLOWING BEYOND A REASONABLE DOUBT: 22

        FIRST:      THAT ESTEVES AND/OR BRUMFIELD AND AT LEAST

                    ONE OTHER PERSON AGREED TO COMMIT THE

                    CRIME OF INTERFERING WITH COMMERCE BY

                    ROBBERY, THAT IS, A ROBBERY ENCOMPASSED

                    WITHIN THE HOBBS ACT,




22See United States v. Harrell, 629 F. App’x 603, 604–05 (5th Cir. 2015) (“To prove a
[Hobbs Act] conspiracy, the prosecution must show ‘an agreement between two or
more persons to commit a crime, and an overt act by one of the conspirators’ to further
the conspiracy.”) (quoting United States v. Box, 50 F.3d 345, 349 (5th Cir. 1995)); see
also Ocasio v. United States, 136 S. Ct. 1423, 1432 (2016) (“In order to establish the
existence of a conspiracy to violate the Hobbs Act . . . [i]t is sufficient to prove that
the conspirators agreed that the underlying crime be committed by a member of the
conspiracy who was capable of committing it. In other words, each conspirator must
have specifically intended that some conspirator commit each element of the
substantive offense.”).


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     SECOND:    THAT ESTEVES AND/OR BRUMFIELD KNEW THE

                UNLAWFUL PURPOSE OF THE AGREEMENT AND

                JOINED IN IT WILLFULLY, THAT IS, WITH THE

                INTENT TO FURTHER THE UNLAWFUL PURPOSE;

                AND

     THIRD:     THAT ONE OF THE CONSPIRATORS DURING THE

                EXISTENCE OF THE CONSPIRACY KNOWINGLY

                COMMITTED AT LEAST ONE OF THE OVERT ACTS

                DESCRIBED      IN   THE   SECOND      SUPERSEDING

                INDICTMENT IN ORDER TO ACCOMPLISH SOME

                OBJECT OR PURPOSE OF THE CONSPIRACY.

     A “CONSPIRACY” IS AN AGREEMENT BETWEEN TWO OR MORE

PERSONS TO JOIN TOGETHER TO ACCOMPLISH SOME UNLAWFUL

PURPOSE. IT IS A KIND OF “PARTNERSHIP IN CRIME,” IN WHICH EACH

MEMBER BECOMES THE AGENT OF EVERY OTHER MEMBER.

     ONE MAY BECOME A MEMBER OF A CONSPIRACY WITHOUT

KNOWING ALL THE DETAILS OF THE UNLAWFUL SCHEME OR THE

IDENTITIES OF ALL THE OTHER ALLEGED CONSPIRATORS. IF A

DEFENDANT UNDERSTOOD THE UNLAWFUL NATURE OF A PLAN OR

SCHEME AND KNOWINGLY AND INTENTIONALLY JOINED IN THAT PLAN

OR SCHEME ON ONE OCCASION, THAT IS SUFFICIENT TO CONVICT THAT

DEFENDANT FOR CONSPIRACY EVEN THOUGH THE DEFENDANT HAD NOT




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PARTICIPATED BEFORE AND EVEN THOUGH HE PLAYED ONLY A MINOR

PART.

     THE GOVERNMENT         NEED    NOT   PROVE THAT      THE ALLEGED

CONSPIRATORS ENTERED INTO ANY FORMAL AGREEMENT, OR THAT THEY

DIRECTLY STATED BETWEEN THEMSELVES ALL THE DETAILS OF THE

SCHEME. SIMILARLY, THE GOVERNMENT NEED NOT PROVE THAT ALL OF

THE DETAILS OF THE SCHEME ALLEGED IN THE SECOND SUPERSEDING

INDICTMENT WERE ACTUALLY AGREED UPON OR CARRIED OUT, NOR

MUST IT PROVE THAT ALL OF THE PERSONS ALLEGED TO HAVE BEEN

MEMBERS OF THE CONSPIRACY WERE SUCH, OR THAT THE ALLEGED

CONSPIRATORS ACTUALLY SUCCEEDED IN ACCOMPLISHING THEIR

UNLAWFUL OBJECTIVES.

     MERE PRESENCE AT THE SCENE OF AN EVENT, EVEN WITH

KNOWLEDGE THAT A CRIME IS BEING COMMITTED, OR THE MERE FACT

THAT CERTAIN PERSONS MAY HAVE ASSOCIATED WITH EACH OTHER AND

MAY HAVE ASSEMBLED TOGETHER AND DISCUSSED COMMON AIMS AND

INTERESTS, DOES NOT NECESSARILY ESTABLISH PROOF OF THE

EXISTENCE    OF   A   CONSPIRACY.   ALSO,   A   PERSON    WHO    HAS   NO

KNOWLEDGE OF A CONSPIRACY, BUT WHO HAPPENS TO ACT IN A WAY

THAT ADVANCES SOME PURPOSE OF A CONSPIRACY, DOES NOT THEREBY

BECOME A CONSPIRATOR.




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        THE TERM “COMMERCE” MEANS COMMERCE WITHIN THE DISTRICT

OF COLUMBIA, OR ANY TERRITORY OR POSSESSION OF THE UNITED

STATES; ALL COMMERCE BETWEEN ANY POINT IN A STATE, TERRITORY,

POSSESSION, OR THE DISTRICT OF COLUMBIA AND ANY POINT OUTSIDE

THEREOF; ALL COMMERCE BETWEEN POINTS WITHIN THE SAME STATE

THROUGH ANY PLACE OUTSIDE SUCH STATE; AND ALL OTHER COMMERCE

OVER WHICH THE UNITED STATES HAS JURISDICTION. 23

        THE GOVERNMENT IS NOT REQUIRED TO PROVE THAT THE

DEFENDANT KNEW THAT HIS CONDUCT WOULD OBSTRUCT, DELAY, OR

AFFECT COMMERCE OR THE MOVEMENT OF ANY ARTICLE OR COMMODITY

IN COMMERCE. IT IS NOT NECESSARY FOR THE GOVERNMENT TO SHOW

THAT THE DEFENDANT ACTUALLY INTENDED OR ANTICIPATED AN

EFFECT ON COMMERCE BY HIS ACTIONS. ALL THAT IS NECESSARY IS THAT

THE NATURAL AND PROBABLE CONSEQUENCE OF THE ACTS THAT THE

DEFENDANT TOOK WOULD BE TO AFFECT COMMERCE.

        FOR   CONSPIRACY       TO   COMMIT      HOBBS      ACT    ROBBERY,      THE

GOVERNMENT NEED ONLY PROVE THAT THE COMPLETION OF THE

SCHEME WOULD HAVE AFFECTED COMMERCE. 24



2318 U.S.C. § 1951(b)(3).
24See United States v. Mann, 493 F.3d 484, 495 (5th Cir. 2007) (“[A] generalized
connection between the alleged criminal activity and interstate commerce is
sufficient to sustain a conviction for conspiracy to violate the Hobbs Act. However,
substantive convictions under the Hobbs Act require that the alleged act actually
have an effect on interstate commerce.”); Fifth Circuit Criminal Pattern Jury
Instructions § 2.73A (2015) note (“In a prosecution for . . . [Hobbs Act] conspiracy,


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      THE FIRST ELEMENT OF THE CONSPIRACY 25 CHARGED IN THIS CASE

REFERS TO THE UNDERLYING SUBSTANTIVE CRIME OF INTERFERENCE

WITH COMMERCE BY ROBBERY—THAT IS, A HOBBS ACT ROBBERY. I WILL

NOW EXPLAIN THIS FIRST ELEMENT TO YOU.

      THE HOBBS ACT, TITLE 18, UNITED STATES CODE, SECTION 1951(a),

MAKES IT A CRIME FOR ANYONE TO OBSTRUCT, DELAY, OR AFFECT

COMMERCE OR THE MOVEMENT OF ANY ARTICLE OR COMMODITY IN

COMMERCE BY ROBBERY.

      TO SATISFY THE FIRST ELEMENT OF COUNT 1, THE GOVERNMENT

MUST PROVE EACH OF THE FOLLOWING BEYOND A REASONABLE

DOUBT: 26

      FIRST:       THAT     ONE    OR    MORE     OF   THE    DEFENDANTS

                   CHARGED        IN     THE    SECOND       SUPERSEDING

                   INDICTMENT           OBTAINED       PROPERTY        FROM

                   ANOTHER WITHOUT THAT PERSON’S CONSENT;




proof that a successful completion of the scheme would have affected commerce may
suffice, but substantive convictions require that each act of robbery . . . affected
commerce.”) (citing Mann, 493 F.3d at 494–96; United States v. Jennings, 195 F.3d
795, 801–02 (5th Cir. 1999); United States v. Robinson, 119 F.3d 1205, 1215 (5th Cir.
1999)).
25 See pages 26–29 of these instructions regarding the elements of the conspiracy

charged.
26 Fifth Circuit Criminal Pattern Jury Instructions § 2.73A (2015).



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        SECOND:     THAT      ONE    OR    MORE      OF    THE    DEFENDANTS

                    CHARGED         IN     THE      SECOND        SUPERSEDING

                    INDICTMENT DID SO BY ROBBERY;

        THIRD:      THAT THE CONDUCT OF ONE OR MORE OF THE

                    DEFENDANTS            CHARGED         IN     THE     SECOND

                    SUPERSEDING INDICTMENT                 IN    ANY WAY OR

                    DEGREE OBSTRUCTED, DELAYED, OR AFFECTED

                    COMMERCE OR THE MOVEMENT OF ANY ARTICLE

                    OR COMMODITY IN COMMERCE.

        I PREVIOUSLY DEFINED THE TERM “COMMERCE.” 27 WITH RESPECT

TO THE SUBSTANTIVE HOBBS ACT ROBBERY, THE GOVERNMENT MUST

PROVE THAT THE ALLEGED ACT ACTUALLY HAD AN EFFECT ON

INTERSTATE COMMERCE. 28

        ROBBERY UNDER THE HOBBS ACT MEANS THE UNLAWFUL TAKING

OR OBTAINING OF PERSONAL PROPERTY FROM A PERSON OR IN THE

PRESENCE OF ANOTHER, AGAINST HIS WILL, BY MEANS OF ACTUAL OR




27 See page 29 of these instructions for this definition.
28 See Mann, 493 F.3d at 495 (“[S]ubstantive convictions under the Hobbs Act require
that the alleged act actually have an effect on interstate commerce.”); United States
v. Herrera, 466 F. App’x 409, 418 (5th Cir. 2012) (“[I]llegal activity need only ‘slightly’
affect interstate commerce to fall under the purview of the Hobbs Act) (quoting United
States v. Box, 50 F.3d 345, 351 (5th Cir. 1995)); United States v. Villafranca, 260 F.3d
374, 377 (5th Cir. 2001) (“While the effect of the defendant’s activity on interstate
commerce need only be slight, the effect on interstate commerce must not be
attenuated.”); United States v. Collins, 40 F.3d 95, 99 (5th Cir. 1994) (“Both direct
and indirect effects on interstate commerce may violate section 1951(a).”).


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THREATENED FORCE, OR VIOLENCE, OR FEAR OF INJURY, IMMEDIATE OR

FUTURE, TO HIS PERSON OR PROPERTY, OR PROPERTY IN HIS CUSTODY

OR POSSESSION. 29

        THE TERM “PROPERTY” INCLUDES MONEY AND OTHER TANGIBLE

AND INTANGIBLE THINGS OF VALUE. 30

        THE TERM “FEAR” INCLUDES FEAR OF ECONOMIC LOSS OR DAMAGE,

AS WELL AS FEAR OF PHYSICAL HARM. 31

        IT IS NOT NECESSARY THAT THE GOVERNMENT PROVE THAT THE

FEAR WAS A DIRECT CONSEQUENCE OF A DIRECT THREAT; IT IS

SUFFICIENT FOR THE GOVERNMENT TO SHOW THAT THE VICTIM’S FEAR

WAS REASONABLE UNDER THE CIRCUMSTANCES. 32




29 18 U.S.C. § 1951(b)(1).
30 Fifth Circuit Criminal Pattern Jury Instructions § 2.73A (2015).
31 Id.
32 Id.



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          COUNT 2: VIOLATION OF 18 U.S.C. §§ 1951(a) AND 2



     COUNT 2 OF THE SECOND SUPERSEDING INDICTMENT CHARGES

THAT ON OR ABOUT DECEMBER 18, 2013, IN THE EASTERN DISTRICT OF

LOUISIANA, LILBEAR GEORGE, AKA “BEAR,” AKA “ALLEN SANTEE,”

DEFENDANT JEREMY ESTEVES, AKA “PIPE,” CURTIS JOHNSON, JR., AKA

“BLOW,” CHUKWUDI OFOMATA, AKA “CHUCK,” AND ROBERT BRUMFIELD,

III, AKA “LIL ROB,” AIDING AND ABETTING EACH OTHER, DID KNOWINGLY

OBSTRUCT, DELAY, AND AFFECT COMMERCE AND THE MOVEMENT OF

ARTICLES AND COMMODITIES IN COMMERCE, BY ROBBERY, BY TAKING

U.S. CURRENCY AND PROPERTY FROM THE PRESENCE AND CUSTODY OF

LOOMIS SECURITY GUARDS AT CHASE BANK, AGAINST SUCH PERSONS’

WILL, BY MEANS OF ACTUAL AND THREATENED FORCE, VIOLENCE, AND

FEAR OF INJURY TO SUCH PERSONS, ALL IN VIOLATION OF TITLE 18,

UNITED STATES CODE, SECTIONS 1951(a) AND 2.

     FIRST, I WILL INSTRUCT YOU ON TITLE 18, UNITED STATES CODE,

1951(a)—HOBBS ACT ROBBERY. THEN I WILL INSTRUCT YOU ON TITLE 18,

UNITED STATES CODE, SECTION 2—AIDING AND ABETTING.

     AS I STATED PREVIOUSLY, TITLE 18, UNITED STATES CODE, SECTION

1951(a) MAKES IT A CRIME FOR ANYONE TO OBSTRUCT, DELAY, OR AFFECT

COMMERCE OR THE MOVEMENT OF ANY ARTICLE OR COMMODITY IN




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COMMERCE BY ROBBERY. THIS CRIME IS ALSO KNOWN AS HOBBS ACT

ROBBERY.

        FOR YOU TO FIND A PERSON GUILTY OF HOBBS ACT ROBBERY, YOU

MUST BE CONVINCED THAT THE GOVERNMENT HAS PROVED EACH OF

THE FOLLOWING BEYOND A REASONABLE DOUBT: 33

        FIRST:     THAT THE PERSON OBTAINED PROPERTY FROM

                   ANOTHER WITHOUT THAT PERSON’S CONSENT;

        SECOND:    THAT THE PERSON DID SO BY ROBBERY;

        THIRD:     THAT THE PERSON’S CONDUCT IN ANY WAY OR

                   DEGREE OBSTRUCTED, DELAYED, OR AFFECTED

                   COMMERCE OR THE MOVEMENT OF ANY ARTICLE

                   OR COMMODITY IN COMMERCE.

        I PREVIOUSLY DEFINED THE TERM “COMMERCE” AND EXPLAINED

WHAT THE GOVERNMENT MUST PROVE WITH RESPECT TO THE

COMMERCE ELEMENT AS TO THE SUBSTANTIVE HOBBS ACT ROBBERY

CHARGE. 34

        I   ALSO   PREVIOUSLY         DEFINED      “ROBBERY,”         “FEAR,”   AND

“PROPERTY.” 35

        IN COUNT 2, ESTEVES AND BRUMFIELD ARE ALSO CHARGED WITH

AIDING AND ABETTING EACH OTHER AND LILBEAR GEORGE, AKA “BEAR,”



33 Fifth Circuit Criminal Pattern Jury Instructions § 2.73A (2015).
34 See pages 29 and 31 of these instructions.
35 See pages 31–32 of these instructions.



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AKA “ALLEN SANTEE,” CURTIS JOHNSON, JR., AKA “BLOW,” AND

CHUKWUDI OFOMATA, AKA “CHUCK” DURING THE COMMISSION OF THE

HOBBS ACT ROBBERY CHARGED IN COUNT 2, IN VIOLATION OF TITLE 18,

UNITED STATES CODE, SECTION 2.

         THE GUILT OF A DEFENDANT IN A CRIMINAL CASE MAY BE

ESTABLISHED WITHOUT PROOF THAT A DEFENDANT PERSONALLY DID

EVERY        ACT    CONSTITUTING        THE      OFFENSE     ALLEGED.   THE   LAW

RECOGNIZES THAT, ORDINARILY, ANYTHING A PERSON CAN DO FOR

HIMSELF MAY ALSO BE ACCOMPLISHED BY HIM THROUGH THE

DIRECTION OF ANOTHER PERSON AS HIS OR HER AGENT, OR BY ACTING

IN CONCERT WITH, OR UNDER THE DIRECTION OF, ANOTHER PERSON OR

PERSONS IN A JOINT EFFORT OR ENTERPRISE. 36

         IF ANOTHER PERSON IS ACTING UNDER THE DIRECTION OF ONE OF

THE DEFENDANTS OR IF A DEFENDANT JOINS ANOTHER PERSON AND

PERFORMS ACTS WITH THE INTENT TO COMMIT A CRIME, THEN THE LAW

HOLDS THAT DEFENDANT RESPONSIBLE FOR THE ACTS AND CONDUCT OF

SUCH OTHER PERSONS JUST AS THOUGH THAT DEFENDANT HAD

COMMITTED THE ACTS OR ENGAGED IN SUCH CONDUCT. 37

         BEFORE A DEFENDANT MAY BE HELD CRIMINALLY RESPONSIBLE

FOR THE ACTS OF OTHERS, IT IS NECESSARY THAT HE DELIBERATELY




36   Fifth Circuit Criminal Pattern Jury Instructions § 2.04 (2015).
37   Id.


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ASSOCIATE HIMSELF IN SOME WAY WITH THE CRIME AND PARTICIPATE

IN IT WITH THE INTENT TO BRING ABOUT THE CRIME. 38

        OF COURSE, MERE PRESENCE AT THE SCENE OF A CRIME AND

KNOWLEDGE THAT A CRIME IS BEING COMMITTED ARE NOT SUFFICIENT

TO ESTABLISH THAT THE DEFENDANT EITHER DIRECTED OR AIDED AND

ABETTED THE CRIME UNLESS YOU FIND BEYOND A REASONABLE DOUBT

THAT THE DEFENDANT WAS A PARTICIPANT AND NOT MERELY A

KNOWING SPECTATOR. 39

        IN OTHER WORDS, YOU MAY NOT FIND A DEFENDANT GUILTY

UNLESS YOU FIND BEYOND A REASONABLE DOUBT THAT EVERY

ELEMENT OF THE OFFENSE AS DEFINED IN THESE INSTRUCTIONS WAS

COMMITTED BY SOME PERSON OR PERSONS, AND THAT THE DEFENDANT

VOLUNTARILY PARTICIPATED IN ITS COMMISSION WITH THE INTENT TO

VIOLATE THE LAW. 40

        FOR YOU TO FIND ESTEVES AND/OR BRUMFIELD GUILTY OF THIS

CRIME, YOU MUST BE CONVINCED THAT THE GOVERNMENT HAS PROVED

EACH OF THE FOLLOWING BEYOND A REASONABLE DOUBT: 41




38 Id.
39 Id.
40 Id.
41 Id.; United States v. Guanespen-Portillo, 514 F.3d 393, 397 (5th Cir. 2008) (“To

prove aiding and abetting of a criminal venture, the government must prove beyond
a reasonable doubt that the defendants ‘(1) associated with the criminal enterprise;
(2) participated in the venture; and (3) sought by [their] action to make the venture
succeed.’”) (quoting United States v. Valdez, 453 F.3d 252, 260 (5th Cir. 2006)).


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        FIRST:      THAT THE OFFENSE OF HOBBS ACT ROBBERY, IN

                    VIOLATION OF 18 U.S.C. § 1951(a), WAS COMMITTED

                    BY SOME PERSON; 42

        SECOND:     THAT ESTEVES AND/OR BRUMFIELD ASSOCIATED

                    WITH THE CRIMINAL VENTURE;

        THIRD:      THAT         ESTEVES          AND/OR         BRUMFIELD

                    PURPOSEFULLY PARTICIPATED IN THE CRIMINAL

                    VENTURE; AND

        FOURTH: THAT ESTEVES AND/OR BRUMFIELD SOUGHT BY

                    ACTION TO MAKE THAT VENTURE SUCCESSFUL.

        “TO ASSOCIATE WITH THE CRIMINAL VENTURE” MEANS THAT THE

DEFENDANT SHARED THE CRIMINAL INTENT OF THE PRINCIPAL. THIS

ELEMENT CANNOT BE ESTABLISHED IF THE DEFENDANT HAD NO

KNOWLEDGE OF THE PRINCIPAL’S CRIMINAL VENTURE. 43

        “TO PARTICIPATE IN THE CRIMINAL VENTURE” MEANS THAT THE

DEFENDANT ENGAGED IN SOME AFFIRMATIVE CONDUCT DESIGNED TO

AID THE VENTURE OR ASSIST THE PRINCIPAL OF THE CRIME. 44




42 See United States v. Branch, 91 F.3d 699, 732 (5th Cir. 1996) (“In a prosecution for
aiding and abetting a crime, the Government need not identify a specific person or
group of individuals as the principal.”).
43 Fifth Circuit Criminal Pattern Jury Instructions § 2.04 (2015).
44 Id.



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               COUNT 3: 18 U.S.C. §§ 924(c), 924(j)(1), AND 2



      COUNT 3 OF THE SECOND SUPERSEDING INDICTMENT CHARGES

THAT, ON OR ABOUT DECEMBER 18, 2013, IN THE EASTERN DISTRICT OF

LOUISIANA, LILBEAR GEORGE, AKA “BEAR,” AKA “ALLEN SANTEE,”

JEREMY ESTEVES, AKA “PIPE,” CURTIS JOHNSON, JR., AKA “BLOW,”

CHUKWUDI OFOMATA, AKA “CHUCK,” AND ROBERT BRUMFIELD, III, AKA

“LIL ROB,” AIDING AND ABETTING EACH OTHER, DID KNOWINGLY USE,

CARRY, BRANDISH, AND DISCHARGE FIREARMS DURING AND IN RELATION

TO CRIMES OF VIOLENCE FOR WHICH THEY MAY BE PROSECUTED IN A

COURT OF THE UNITED STATES, THAT IS VIOLATIONS OF TITLE 18, UNITED

STATES CODE, SECTIONS § 1951(a) AND 2, AS SET FORTH IN COUNT TWO OF

THE SECOND SUPERSEDING INDICTMENT, IN VIOLATION OF TITLE 18,

UNITED STATES CODE, SECTIONS 924(c)(1)(A) AND 2, AND IN THE COURSE

THEREOF CAUSED THE DEATH OF HECTOR TROCHEZ THROUGH THE USE

OF FIREARMS, AND THE KILLING WAS MURDER, IN THAT THE MURDER

WAS   COMMITTED        IN   PERPETRATION    OF    A    ROBBERY    AFFECTING

COMMERCE; ALL IN VIOLATION OF TITLE 18, UNITED STATES CODE,

SECTIONS 924(c), 924(j)(1), AND 2.

      YOU    WILL    NOTICE    THAT    IN   THE   SECOND        SUPERSEDING

INDICTMENT,      THE    DESCRIBED      OFFENSE        REFERS    TO   “US[ING],

CARRY[ING], BRANDISH[ING], AND DISCHARG[ING] FIREARMS,” WHICH IS




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JOINED      BY   THE   CONJUNCTIVE      WORD,    “AND.”   AS   I   EXPLAINED

PREVIOUSLY, WHEN READING THE SECOND SUPERSEDING INDICTMENT

AND WHEN REVIEWING THE ELEMENTS OF AN OFFENSE, YOU SHOULD

KEEP IN MIND THAT “AND” MEANS “OR.” 45

        TITLE 18, UNITED STATES CODE, SECTION 924(c), MAKES IT A CRIME

FOR ANYONE TO KNOWINGLY USE, CARRY, BRANDISH, OR DISCHARGE A

FIREARM DURING AND IN RELATION TO A CRIME OF VIOLENCE.

        AS I PREVIOUSLY EXPLAINED, THE GUILT OF A DEFENDANT IN A

CRIMINAL CASE MAY BE ESTABLISHED WITHOUT PROOF THAT A

DEFENDANT PERSONALLY DID EVERY ACT CONSTITUTING THE OFFENSE

ALLEGED. THE LAW RECOGNIZES THAT, ORDINARILY, ANYTHING A

PERSON CAN DO FOR HIMSELF MAY ALSO BE ACCOMPLISHED BY HIM

THROUGH THE DIRECTION OF ANOTHER PERSON AS HIS OR HER AGENT,

OR BY ACTING IN CONCERT WITH, OR UNDER THE DIRECTION OF,

ANOTHER PERSON OR PERSONS IN A JOINT EFFORT OR ENTERPRISE. 46

        IF ANOTHER PERSON IS ACTING UNDER THE DIRECTION OF ONE OF

THE DEFENDANTS OR IF A DEFENDANT JOINS ANOTHER PERSON AND

PERFORMS ACTS WITH THE INTENT TO COMMIT A CRIME, THEN THE LAW

HOLDS THAT DEFENDANT RESPONSIBLE FOR THE ACTS AND CONDUCT OF




45 See Morales-Martinez, 496 F.3d at 358 (“A disjunctive statute may be pleaded
conjunctively and proven disjunctively.”) (internal citations, quotations, and
alterations omitted).
46 Fifth Circuit Criminal Pattern Jury Instructions § 2.04 (2015).



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SUCH OTHER PERSONS JUST AS THOUGH THAT DEFENDANT HAD

COMMITTED THE ACTS OR ENGAGED IN SUCH CONDUCT. 47

         BEFORE A DEFENDANT MAY BE HELD CRIMINALLY RESPONSIBLE

FOR THE ACTS OF OTHERS, IT IS NECESSARY THAT HE DELIBERATELY

ASSOCIATE HIMSELF IN SOME WAY WITH THE CRIME AND PARTICIPATE

IN IT WITH THE INTENT TO BRING ABOUT THE CRIME. 48

         OF COURSE, MERE PRESENCE AT THE SCENE OF A CRIME AND

KNOWLEDGE THAT A CRIME IS BEING COMMITTED ARE NOT SUFFICIENT

TO ESTABLISH THAT THE DEFENDANT EITHER DIRECTED OR AIDED AND

ABETTED THE CRIME UNLESS YOU FIND BEYOND A REASONABLE DOUBT

THAT THE DEFENDANT WAS A PARTICIPANT AND NOT MERELY A

KNOWING SPECTATOR. 49

         IN OTHER WORDS, YOU MAY NOT FIND THE DEFENDANT GUILTY

UNLESS YOU FIND BEYOND A REASONABLE DOUBT THAT EVERY

ELEMENT OF THE OFFENSE AS DEFINED IN THESE INSTRUCTIONS WAS

COMMITTED BY SOME PERSON OR PERSONS, AND THAT THE DEFENDANT

VOLUNTARILY PARTICIPATED IN ITS COMMISSION WITH THE INTENT TO

VIOLATE THE LAW. 50




47 Id.
48 Id.
49 Id.
50 Id.



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        FOR YOU TO FIND ESTEVES AND/OR BRUMFIELD GUILTY OF AIDING

AND ABETTING THE USE, DISCHARGE, CARRYING, AND/OR BRANDISHING,

OF A FIREARM DURING AND IN RELATION TO A CRIME OF VIOLENCE, YOU

MUST BE CONVINCED THAT THE GOVERNMENT HAS PROVED EACH OF

THE FOLLOWING BEYOND A REASONABLE DOUBT: 51

        FIRST:      THAT THE HOBBS ACT ROBBERY CHARGED IN

                    COUNT       2   OF       THE   SECOND       SUPERSEDING

                    INDICTMENT WAS COMMITTED. I INSTRUCT YOU

                    THAT THE HOBBS ACT ROBBERY CHARGED IN

                    COUNT 2 IS A CRIME OF VIOLENCE; 52

        SECOND:     THAT     THE OFFENSE OF             KNOWINGLY USING,

                    CARRYING,            BRANDISHING,                   AND/OR

                    DISCHARGING          A    FIREARM     DURING       AND     IN

                    RELATION TO THE CRIME OF VIOLENCE, AS

                    CHARGED IN COUNT 3, WAS COMMITTED BY SOME

                    PERSON IN THE COURSE OF COMMITTING THE




51 See United States v. Bowens, 907 F.3d 347, 352 (5th Cir. 2018), cert. denied, 139 S.
Ct. 1299 (2019) (explaining jury instructions for aiding and abetting the use of a
firearm in furtherance of Hobbs Act robbery in violation of 18 U.S.C. §§ 2 and
924(c)(1)(A)(ii)); see also Branch, 91 F.3d at 732 (5th Cir. 1996) (“In a prosecution for
aiding and abetting a crime, the Government need not identify a specific person or
group of individuals as the principal.”).
52 See United States v. Buck, 847 F.3d 267, 275 (5th Cir. 2017) (holding that Hobbs

Act Robbery, pursuant to 18 U.S.C. § 1951(a), is a crime of violence under 18 U.S.C.
§ 924(c)); Bowens, 907 F.3d at 354 (5th Cir. 2018) (confirming that Hobbs Act robbery
qualifies as a predicate crime of violence under 18 U.S.C. § 924(c)).


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                   OFFENSE OF HOBBS ACT ROBBERY AS ALLEGED IN

                   COUNT 2;

        THIRD:     THAT ESTEVES AND/OR BRUMFIELD ASSOCIATED

                   WITH THE CRIMINAL VENTURE;

        FOURTH: THAT            ESTEVES          AND/OR         BRUMFIELD

                   PURPOSEFULLY PARTICIPATED IN THE CRIMINAL

                   VENTURE;

        FIFTH:     THAT ESTEVES AND/OR BRUMFIELD SOUGHT BY

                   ACTION TO MAKE THAT VENTURE SUCCESSFUL.

        SIXTH:     THAT ESTEVES AND/OR BRUMFIELD ACTIVELY

                   PARTICIPATED IN THE UNDERLYING VIOLENT

                   CRIME WITH ADVANCE KNOWLEDGE THAT A

                   CONFEDERATE WOULD USE, CARRY, BRANDISH,

                   AND/OR      DISCHARGE        A   GUN      DURING      THE

                   COMMISSION OF THE HOBBS ACT ROBBERY. 53

        “ADVANCE KNOWLEDGE” MEANS KNOWLEDGE AT A TIME THE

DEFENDANT CAN DO SOMETHING WITH ITMOST NOTABLY, TO OPT OUT

OR WALK AWAY FROM THE CRIMINAL ENTERPRISE. 54



53 Fifth Circuit Criminal Pattern Jury Instructions § 2.44 (2015) note (citing United
States v. Smith, 609 F. App’x 180 (5th Cir. 2015); Rosemond v. United States, 134 S.
Ct. 1240, 1249–51 (2014).
54 See Miller v. Fisher, 658 F. App’x 696, 699 (5th Cir. 2016) (explaining that “an

accomplice defendant ‘has the intent needed to aid and abet a § 924(c) violation when
he knows that one of his confederates will carry a gun,’ which requires the
Government to prove that the accomplice had ‘advance knowledge’ of a firearm, i.e.,


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      THE TERM “FIREARM” MEANS ANY WEAPON THAT WILL OR IS

DESIGNED TO OR MAY READILY BE CONVERTED TO EXPEL A PROJECTILE

BY THE ACTION OF AN EXPLOSIVE. THE TERM “FIREARM” ALSO INCLUDES

THE FRAME OR RECEIVER OF ANY SUCH WEAPON, OR ANY FIREARM

MUFFLER OR FIREARM SILENCER, OR DESTRUCTIVE DEVICE. 55

      TO PROVE THAT A PERSON “USED” A FIREARM DURING AND IN

RELATION TO A CRIME OF VIOLENCE, THE GOVERNMENT MUST PROVE

THAT THAT PERSON ACTIVELY EMPLOYED THE FIREARM IN THE

COMMISSION OF THE HOBBS ACT ROBBERY AS SET FORTH IN COUNT 2,

SUCH AS A USE THAT IS INTENDED TO OR BRINGS ABOUT A CHANGE IN

THE CIRCUMSTANCES OF THE COMMISSION OF THE HOBBS ACT ROBBERY

AS SET FORTH IN COUNT 2. “ACTIVE EMPLOYMENT” MAY INCLUDE

BRANDISHING, DISPLAYING, REFERRING TO, BARTERING, STRIKING WITH,

FIRING, OR ATTEMPTING TO FIRE THE FIREARM. “USE” IS MORE THAN

MERE POSSESSION OF A FIREARM OR HAVING IT AVAILABLE DURING THE

CRIME OF VIOLENCE. 56

      TO PROVE THAT A PERSON “CARRIED” A FIREARM DURING AND IN

RELATION TO A CRIME OF VIOLENCE, THE GOVERNMENT MUST PROVE

THAT THAT PERSON CARRIED THE FIREARM IN THE ORDINARY MEANING



knowledge at a time when the accomplice could reasonably elect to opt out or walk
away.”) (citing Rosemond, 134 S. Ct. at 1249–50)); Fifth Circuit Criminal Pattern
Jury Instructions § 2.04 (2015) note.
55 See 18 U.S.C. § 921(1)(3).
56 Fifth Circuit Criminal Pattern Jury Instructions § 2.44 (2015).



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OF THE WORD “CARRY,” SUCH AS BY TRANSPORTING A FIREARM ON THE

PERSON OR IN A VEHICLE. A PERSON’S CARRYING OF THE FIREARM

CANNOT BE MERELY COINCIDENTAL OR UNRELATED TO THE CRIME OF

VIOLENCE. 57

        THE TERM “BRANDISH,” WITH RESPECT TO A FIREARM, MEANS TO

DISPLAY ALL OR PART OF THE FIREARM, OR OTHERWISE MAKE THE

PRESENCE OF THE FIREARM KNOWN TO ANOTHER PERSON, IN ORDER TO

INTIMIDATE THAT PERSON, REGARDLESS OF WHETHER THE FIREARM IS

DIRECTLY VISIBLE TO THAT PERSON. 58

        “IN RELATION TO” MEANS THAT THE FIREARM MUST HAVE SOME

PURPOSE, ROLE, OR EFFECT WITH RESPECT TO THE CRIME OF

VIOLENCE. 59

        IF YOU FIND ESTEVES AND/OR BRUMFIELD, AIDING AND ABETTING

OTHERS, GUILTY OF VIOLATING SECTION 924(c), YOU MUST THEN

DETERMINE IF THE DEATH OF HECTOR TROCHEZ WAS CAUSED BY THE

USE OF A FIREARM IN THE COURSE OF THE VIOLATION OF TITLE 18,

UNITED STATES CODE, SECTION 924(c), AND WHETHER THE KILLING IS A




57 Id.
58 18 U.S.C. § 924(c)(4); United States v. Pinkston, 75 F. App’x 309, 311 (5th Cir. 2003)
(concluding that district court did not abuse its discretion in instructing the jury on
the definition of “brandish” with language that mirrored the statutory definition of
the term under 18 U.S.C. § 924(c)(4)).
59 Fifth Circuit Criminal Pattern Jury Instructions § 2.44 (2015).



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MURDER, AS I WILL DEFINE BELOW, IN VIOLATION OF TITLE 18, UNITED

STATES CODE, SECTION 924(j).

        FOR YOU TO FIND ESTEVES AND/OR BRUMFIELD GUILTY OF AIDING

AND ABETTING MURDER, IN VIOLATION OF TITLE 18, UNITED STATES

CODE, SECTION 924(j), YOU MUST BE CONVINCED THAT THE GOVERNMENT

HAS PROVED EACH OF THE FOLLOWING BEYOND A REASONABLE DOUBT:

        FIRST:     THAT     A    FIREARM      WAS     KNOWINGLY         USED,

                   CARRIED,      BRANDISHED,        AND/OR     DISCHARGED

                   DURING AND IN RELATION TO THE HOBBS ACT

                   ROBBERY, IN VIOLATION OF SECTION 924(c);

        SECOND:    THAT DURING THE COURSE OF THE VIOLATION OF

                   SECTION 924(c), THE DEATH OF HECTOR TROCHEZ

                   WAS CAUSED THROUGH THE USE OF A FIREARM; 60

        THIRD:     THAT THE KILLING OF HECTOR TROCHEZ IS A

                   MURDER AS DEFINED IN TITLE 18, UNITED STATES

                   CODE, SECTION 1111;

        FOURTH: THAT ESTEVES AND/OR BRUMFIELD ASSOCIATED

                   WITH THE CRIMINAL VENTURE;




60 See Branch, 91 F.3d at 732 (explaining that the government did not need to identify
the actual gunmen who killed federal agents or demonstrate that the defendants
fir[ed] a weapon in order to find the defendants guilty of aiding and abetting murder
or manslaughter).


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        FIFTH:     THAT ESTEVES AND/OR BRUMFIELD SOUGHT BY

                   ACTION TO MAKE THAT VENTURE SUCCESSFUL;

                   AND

        SIXTH:     THAT ESTEVES AND/OR BRUMFIELD ACTIVELY

                   PARTICIPATED WITH ADVANCE KNOWLEDGE THAT

                   THERE WAS A GENUINE RISK THAT A PERSON

                   MIGHT BE SHOT AND KILLED DURING THE HOBBS

                   ACT ROBBERY. 61

        MURDER” IS DEFINED AS THE UNLAWFUL KILLING OF A HUMAN

BEING WITH MALICE AFORETHOUGHT. 62

        EVERY MURDER PERPETRATED BY . . . LYING IN WAIT, OR ANY OTHER

KIND OF WILLFUL, DELIBERATE, MALICIOUS, AND PREMEDITATED

KILLING; OR COMMITTED IN THE PERPETRATION OF, OR ATTEMPT TO

PERPETRATE, ANY . . . MURDER . . . OR ROBBERY . . . OR PERPETRATED

FROM A PREMEDITATED DESIGN UNLAWFULLY AND MALICIOUSLY TO

EFFECT THE DEATH OF ANY HUMAN BEING OTHER THAN HIM WHO IS

KILLED, IS MURDER IN THE FIRST DEGREE. 63

        ANY OTHER MURDER IS MURDER IN THE SECOND DEGREE. 64



61 See United States v. Gyamfi, 357 F. Supp. 3d 355, 363 (S.D.N.Y. 2019).
62 18 U.S.C. § 1111(a); see Fifth Circuit Criminal Pattern Jury Instructions § 2.52A
(2015).
63 Id.
64 18 U.S.C. § 1111(a); see United States v. Lemus-Gonzalez, 563 F.3d 88, 92 (5th Cir.

2009) (“Under federal law, second-degree murder requires ‘malice aforethought,’ a
higher degree of culpability than that for involuntary manslaughter . . . ‘[E]xtreme’


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      TO KILL “WITH MALICE AFORETHOUGHT” MEANS EITHER TO KILL

ANOTHER PERSON DELIBERATELY AND INTENTIONALLY, OR TO ACT WITH

CALLOUS AND WANTON DISREGARD FOR HUMAN LIFE. 65

      TO FIND MALICE AFORETHOUGHT, YOU NEED NOT BE CONVINCED

THAT A DEFENDANT HATED THE PERSON KILLED OR FELT ILL WILL

TOWARD THE VICTIM AT THE TIME. 66

      IN DETERMINING WHETHER THE KILLING WAS WITH MALICE

AFORETHOUGHT, YOU MAY CONSIDER THE USE OF A WEAPON OR

INSTRUMENT AND THE MANNER IN WHICH THE DEATH WAS CAUSED. 67

      A KILLING IS “PREMEDITATED” WHEN IT IS THE RESULT OF

PLANNING OR DELIBERATION. THE AMOUNT OF TIME NEEDED FOR

PREMEDITATION OF A KILLING DEPENDS ON THE PERSON AND THE

CIRCUMSTANCES. IT MUST BE LONG ENOUGH FOR THE KILLER, AFTER

FORMING THE INTENT TO KILL, TO BE FULLY CONSCIOUS OF THAT

INTENT. 68

      YOU SHOULD CONSIDER ALL OF THE FACTS AND CIRCUMSTANCES

PRECEDING, SURROUNDING, AND FOLLOWING THE KILLING WHICH TEND




conduct is the degree of differentiation between second degree murder and
involuntary manslaughter. Extreme recklessness and wanton disregard for human
life will establish second-degree murder but not recklessness and wanton disregard
for human life, which is the culpability for involuntary manslaughter.).
65 Fifth Circuit Criminal Pattern Jury Instructions § 2.52A (2015).
66 Id.
67 Id.
68 Id.



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TO SHED LIGHT UPON THE CONDITION OF MIND OF THE DEFENDANT,

BEFORE AND AT THE TIME OF THE KILLING. NO FACT, NO MATTER HOW

SMALL, NO CIRCUMSTANCE, NO MATTER HOW TRIVIAL, WHICH BEARS

UPON THE QUESTIONS OF MALICE AFORETHOUGHT, SHOULD ESCAPE

YOUR CAREFUL CONSIDERATION. 69




69   Id.


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                             CONDUCT OF THE JURY 70



         YOU, AS THE JURORS, MUST DECIDE THIS CASE BASED SOLELY ON

THE EVIDENCE PRESENTED WITHIN THE FOUR WALLS OF THIS

COURTROOM. THIS MEANS YOU MUST NOT CONDUCT ANY INDEPENDENT

RESEARCH ABOUT THIS CASE, THE MATTERS IN THIS CASE, AND THE

INDIVIDUALS INVOLVED IN THE CASE. IN OTHER WORDS, YOU SHOULD

NOT CONSULT DICTIONARIES OR REFERENCE MATERIALS, SEARCH THE

INTERNET, WEBSITES, BLOGS, OR USE ANY OTHER ELECTRONIC TOOLS TO

OBTAIN INFORMATION ABOUT THIS CASE OR TO HELP YOU DECIDE THE

CASE.      PLEASE DO NOT TRY TO FIND OUT INFORMATION FROM ANY

SOURCE OUTSIDE THE CONFINES OF THIS COURTROOM.

         AFTER YOU RETIRE TO DELIBERATE, YOU MAY BEGIN DISCUSSING

THE CASE WITH YOUR FELLOW JURORS, BUT YOU CANNOT DISCUSS THE

CASE WITH ANYONE ELSE UNTIL YOU HAVE RETURNED A VERDICT AND

THE CASE IS AT AN END.

         I HOPE THAT FOR ALL OF YOU THIS CASE IS INTERESTING AND

NOTEWORTHY. I KNOW MANY OF YOU USE CELL PHONES, THE INTERNET

AND OTHER TOOLS OF TECHNOLOGY.                   YOU ALSO MUST NOT TALK TO

ANYONE ABOUT THIS CASE OR USE THESE TOOLS TO COMMUNICATE

ELECTRONICALLY WITH ANYONE ABOUT THE CASE.                            THIS INCLUDES



70   Fifth Circuit Criminal Pattern Jury Instructions § 1.01 (2015)


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YOUR FAMILY AND FRIENDS.          YOU MAY NOT COMMUNICATE WITH

ANYONE ABOUT THE CASE ON YOUR CELL PHONE, THROUGH E-MAIL,

TEXT MESSAGING, OR ON TWITTER, THROUGH ANY BLOG OR WEBSITE,

THROUGH ANY INTERNET CHATROOM, OR BY WAY OF ANY OTHER SOCIAL

NETWORKING WEBSITES, INCLUDING FACEBOOK, INSTAGRAM, LINKEDIN,

AND YOUTUBE.

     THE EVIDENCE THAT YOU ARE TO CONSIDER WILL BE LIMITED TO

THE EVIDENCE THAT YOU HEAR AND REVIEW IN THIS COURTROOM.




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                              DUTY TO DELIBERATE 71



         TO REACH A VERDICT, WHETHER IT IS GUILTY OR NOT GUILTY, ALL

OF YOU MUST AGREE. YOUR VERDICT MUST BE UNANIMOUS ON EACH

COUNT         OF    THE      SECOND       SUPERSEDING         INDICTMENT.     YOUR

DELIBERATIONS WILL BE SECRET. YOU WILL NEVER HAVE TO EXPLAIN

YOUR VERDICT TO ANYONE.

         IT IS YOUR DUTY TO CONSULT WITH ONE ANOTHER AND TO

DELIBERATE IN AN EFFORT TO REACH AGREEMENT IF YOU CAN DO SO.

EACH OF YOU MUST DECIDE THE CASE FOR YOURSELF, BUT ONLY AFTER

AN IMPARTIAL CONSIDERATION OF THE EVIDENCE WITH YOUR FELLOW

JURORS.       DURING      YOUR     DELIBERATIONS,        DO    NOT     HESITATE   TO

REEXAMINE YOUR OWN OPINIONS AND CHANGE YOUR MIND IF

CONVINCED THAT YOU WERE WRONG. BUT DO NOT GIVE UP YOUR

HONEST BELIEFS AS TO THE WEIGHT OR EFFECT OF THE EVIDENCE

SOLELY BECAUSE THE OPINION OF YOUR FELLOW JURORS, OR FOR THE

MERE PURPOSE OF RETURNING A VERDICT.

         REMEMBER AT ALL TIMES, YOU ARE THE JUDGES OF THE FACTS.

YOUR DUTY IS TO DECIDE WHETHER THE GOVERNMENT HAS PROVED

EACH DEFENDANT GUILTY BEYOND A REASONABLE DOUBT.




71   Fifth Circuit Criminal Pattern Jury Instructions § 1.24 (2015).


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      WHEN YOU GO TO THE JURY ROOM, THE FIRST THING THAT YOU

SHOULD DO IS SELECT ONE OF YOUR NUMBER AS YOUR FOREPERSON,

WHO WILL HELP TO GUIDE YOUR DELIBERATIONS AND WILL SPEAK FOR

YOU HERE IN THE COURTROOM.

      A VERDICT FORM AS TO EACH DEFENDANT HAS BEEN PREPARED

FOR   YOUR       CONVENIENCE.   THE   FOREPERSON      WILL   WRITE    THE

UNANIMOUS ANSWER OF THE JURY IN THE SPACE PROVIDED FOR EACH

COUNT OF THE SECOND SUPERSEDING INDICTMENT, EITHER GUILTY OR

NOT GUILTY.

      SHOULD YOU FIND EITHER OR BOTH OF THE DEFENDANTS GUILTY

AS TO COUNT 3, YOU MUST ANSWER INTERROGATORY NOS. 3(A), 3(B), AND

3(C), GIVING EACH INTERROGATORY INDIVIDUAL CONSIDERATION.

      AT THE CONCLUSION OF YOUR DELIBERATIONS, THE FOREPERSON

SHOULD DATE AND SIGN EACH VERDICT FORM.

      IF   YOU    NEED   TO   COMMUNICATE WITH ME DURING             YOUR

DELIBERATIONS, THE FOREPERSON SHOULD WRITE THE MESSAGE AND

GIVE IT TO THE COURT SECURITY OFFICER. I WILL EITHER REPLY IN

WRITING OR BRING YOU BACK INTO THE COURT TO ANSWER YOUR

MESSAGE.

      BEAR IN MIND THAT YOU ARE NEVER TO REVEAL TO ANY PERSON,

NOT EVEN TO THE COURT, HOW THE JURY STANDS, NUMERICALLY OR




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OTHERWISE,    ON   THE    CHARGES       IN   THE   SECOND   SUPERSEDING

INDICTMENT UNTIL AFTER YOU HAVE REACHED A UNANIMOUS VERDICT.

     YOU MAY NOW PROCEED TO THE JURY ROOM AND BEGIN YOUR

DELIBERATIONS.




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